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 7

 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:21-CR-0150 WBS

12                                   Plaintiff,           PLEA AGREEMENT

13                             v.                         DATE:  AUGUST 30, 2021
                                                          TIME:  9:00 AM
14   RICHARD BELDON WATERS III,                           COURT: Hon. William B. Shubb

15                                   Defendant.

16
                                             I.      INTRODUCTION
17
            A.      Scope of Agreement.
18
            The Information in this case charges the defendant, RICHARD BELDON WATERS III, with
19
     violations of 18 U.S.C. § 1344 – Bank Fraud (Count One); and 18 U.S.C. § 1708 – Possession of Stolen
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     U.S. Mail (Count Two). This document contains the complete plea agreement between the United
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     States Attorney’s Office for the Eastern District of California (the “government”) and the defendant
22
     regarding this case. This plea agreement is limited to the United States Attorney’s Office for the Eastern
23
     District of California and cannot bind any other federal, state, or local prosecuting, administrative, or
24
     regulatory authorities.
25
            B.      Court Not a Party.
26
            The Court is not a party to this plea agreement. Sentencing is a matter solely within the
27
     discretion of the Court, and the Court may take into consideration any and all facts and circumstances
28

      PLEA AGREEMENT                                      1
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